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     U nited States D istrict C ourt Southern
     D istrict of Florida
     case num ber:19:19-cv-80681                        A/teb
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     Plaintifl/petitioner                                   yo#           ac
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     v.                                                           #         .
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     City ofPalm Beach G ardens                         'kospR
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     defendant/respondent                                       4.-wz
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     Plantifris requesting thiscourtofthe im m ediate suspension o o er
     G uerreiero and herpartner oflicer D ow d,both police oflicers has
     conspired w ith one and other to deceive their superiorsby concealing
     the legitim acy ofplaintifl's arrest,w itch subsequently resulted in the
     unlaw fulincarceration ofplaintift




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